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    1617 JFK Boulevard, Suite 1400
    Philadelphia, PA 19103
    856-813-5500
    Attorneys for PHH MORTGAGE CORPORATION

                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

IN RE:                                       : CHAPTER 13
         Josette M. Garrett
         Readus D. Garrett                   : CASE NO. 17-21500-ABA

      Debtor(s)                              : NOTICE OF MOTION FOR
                                             : RELIEF FROM AUTOMATIC
                                             : STAY PURSUANT TO 11 USC
                                             : SECTION 362(d)

Josette M. Garrett                             Brad J. Sadek
223 Swedes Run Drive                           Sadek and Cooper
Riverside, NJ 08075                            1315 Walnut Street
                                               Ste 502
Josette M. Garrett                             Philadelphia, PA 19107
36 Stonehaven Lane
Willingboro, NJ 08046                          Andrew Van Wagner
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Readus D. Garrett                              1040 N. Kings Hwy.
223 Swedes Run Drive                           Suite 305
Riverside, NJ 08075                            Cherry Hill, NJ 08034

Readus D. Garrett                              Isabel C. Balboa
36 Stonehaven Lane                             Chapter 13 Standing Trustee
Willingboro, NJ 08046                          Cherry Tree Corporate Center
                                               535 Route 38 - Suite 580
                                               Cherry Hill, NJ 08002

                                               U.S. Trustee
                                               US Dept of Justice
                                               Office of the US Trustee
                                               One Newark Center Ste 2100
                                               Newark, NJ 07102

 NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

         PHH MORTGAGE CORPORATION (hereinafter 'Movant') has filed papers with the Court

to have an Order entered granting it relief from the automatic stay against the property commonly

known as 36 STONEHAVEN LANE, WILLINGBORO, NJ 08046.
       Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,

you may wish to consult one).

       If you do not want the Court to grant Movant relief from the automatic stay regarding the

above real property, or if you want the Court to consider your views on the Motion, then on or

before 07/14/2020 you or your attorney must:

       File with the Court a written response to Movant's Motion explaining your position. Your

response must be filed with the Bankruptcy Clerk of the United States Bankruptcy Court, 401

Market Street, Second Floor, Camden, NJ 08101.

       If you mail your response to the Court for filing, you must mail it early enough so the Court

will receive it on or before the date stated above.

       You must also mail a copy to:

/s/ Melanie Grimes                                    U.S. Trustee
Melanie Grimes, Esq.                                  US Dept of Justice
Phelan Hallinan Diamond & Jones, PC                   Office of the US Trustee
1617 JFK Boulevard, Suite 1400                        One Newark Center Ste 2100
Philadelphia, PA 19103                                Newark, NJ 07102
Tel: 856-813-5500 Ext. 46245
Fax: 856-813-5501                                     Isabel C. Balboa
Email: Melanie.Grimes@phelanhallinan.com              Chapter 13 Standing Trustee
                                                      Cherry Tree Corporate Center
                                                      535 Route 38 - Suite 580
                                                      Cherry Hill, NJ 08002
                                                      Chapter 13 Trustee
       If you are opposing the Order Movant is seeking from the Court, you must attend the

hearing scheduled to be held on 07/21/2020 at 10:00 a.m. at the United States Bankruptcy

Courthouse, 400 Cooper Street, Fourth Floor, Camden, NJ 08101, before the Honorable Andrew B.

Altenburg, Jr, presiding.

       If you or your attorney do not take these steps, the Court may decide that you do not oppose

the relief sought in the Motion and may enter an order granting that relief.


Dated: May 11, 2020
                                              /s/ Melanie Grimes
                                              Melanie Grimes, Esq.
                                              Phelan Hallinan Diamond & Jones, PC
                                              1617 JFK Boulevard, Suite 1400
                                              Philadelphia, PA 19103
                                              Tel: 856-813-5500 Ext. 46245
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